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 8   Direct Purchaser Plaintiffs
 9

10
                                UNITED STATES DISTRICT COURT
11
                             NORTHERN DISTRICT OF CALIFORNIA
12
                                    SAN FRANCISCO DIVISION
13
     IN RE: CATHODE RAY TUBE (CRT)              Master File No. CV- 07-5944-SC
14   ANTITRUST LITIGATION
     ____________________________________       MDL No. 1917
15   This Document Relates to:
                                                DECLARATION OF R. ALEXANDER
16                                              SAVERI IN SUPPORT OF MOTION FOR
     DIRECT PURCHASER CLASS ACTIONS             CLASS CERTIFICATION AND
17                                              PRELIMINARY APPROVAL OF CLASS
                                                ACTION SETTLEMENT WITH THE
18                                              HITACHI DEFENDANTS
19                                              Date:      January 10, 2014
20                                              Time:      10:00 a.m.
                                                Judge:     Honorable Samuel Conti
21                                              Courtroom: 1

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      DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF MOTION FOR PRELIMINARY APPROVAL
       OF CLASS ACTION SETTLEMENT WITH THE HITACHI DEFENDANTS; Master File No. CV-07-5944-SC
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 1   I, R. Alexander Saveri, declare:

 2          1.      I am a partner with Saveri & Saveri, Inc., Interim Lead Counsel for Direct Purchaser

 3   Plaintiffs in this litigation. I am a member of the Bar of the State of California and an attorney

 4   admitted to practice in the Northern District of California. I make this Declaration in Support of

 5   Plaintiff’s Motion for Preliminary Approval of Class Action Settlement with defendants Hitachi,

 6   Ltd.; Hitachi Displays, Ltd. (n/k/a Japan Display Inc.) (“Hitachi Displays”); Hitachi America, Ltd.;

 7   Hitachi Asia, Ltd.; and Hitachi Electronic Devices (USA) Inc. (collectively “Hitachi”). Except as

 8   otherwise stated, I have personal knowledge of the facts stated below.

 9          2.      Attached hereto as Exhibit 1 is the Settlement Agreement with Hitachi. This is the

10   sixth settlement plaintiffs have reached in this action.

11          3.      This multidistrict litigation arises from an alleged conspiracy to fix prices of

12   Cathode Ray Tubes (“CRTs”). In November of 2007, the first direct purchaser plaintiff filed a class

13   action complaint on behalf of itself and all others similarly situated alleging a violation of Section 1

14   of the Sherman Act, 15 U.S.C. § 1, and Section 4 of the Clayton Act, 15 U.S.C. § 15. Thereafter,

15   additional actions were filed in other jurisdictions. The JPML transferred all related actions to this

16   Court on February 15, 2008. (Dkt. No. 122). On May 9, 2008, Saveri & Saveri, Inc. was appointed

17   Interim Lead Class Counsel for the nationwide class of direct purchasers. (Dkt. No. 282).

18          4.      On March 16, 2009, Plaintiffs filed the CAC alleging an over-arching horizontal

19   conspiracy among the Defendants and their co-conspirators to fix prices for CRTs and to allocate

20   markets and customers for the sale of CRTs in the United States from March 1, 1995 through

21   November 25, 2007 (the “Class Period”). The CAC alleges that Plaintiffs and members of the

22   Class are direct purchasers of CRTs and/or CRT Finished Products from Defendants and/or their

23   subsidiaries and were injured because they paid more for CRTs and/or CRT Finished Products than

24   they would have absent defendants’ illegal conspiracy. (CAC ¶¶ 213–221). Plaintiffs seek, inter

25   alia, treble damages pursuant to Section 4 of the Clayton Act, 15 U.S.C. §§ 15 and 22. (CAC at p.

26   47).

27          5.      Defendants filed several motions to dismiss the CAC on May 18, 2009. (See Dkt.

28   Nos. 463–493). On March 30, 2010, this Court entered his Order approving and adopting Judge
                                                   1
      DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF MOTION FOR PRELIMINARY APPROVAL
       OF CLASS ACTION SETTLEMENT WITH THE HITACHI DEFENDANTS; Master File No. CV-07-5944-SC
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 1   Legge’s previous ruling and recommendation granting in part and denying in part Defendants’

 2   Motions to Dismiss. (Dkt. No. 665). On April 29, 2010, Defendants answered the CAC.

 3            6.    On March 21, 2011, pursuant to FRCP 11, certain Defendants moved to strike

 4   allegations of a finished product conspiracy from the CAC. (Dkt. No. 880). After a hearing, the

 5   Special Master recommended that the motion be granted and that Plaintiffs’ allegations of a

 6   finished products conspiracy be stricken from the complaint. (Dkt. No. 947). The Special Master

 7   also recommended that “the issue of the possible impact or effect of the alleged fixing of prices of

 8   the CRTs on the prices of Finished Products shall remain in the case, and is a proper subject of

 9   discovery.” Id. at 14.

10            7.    On June 29, 2011, Defendants moved the Court to adopt the Special Master’s

11   Report and Recommendation (Dkt. No. 953) and Plaintiffs filed an objection (Dkt. No. 957). The

12   Court set the matter for hearing on September 2, 2011. (Dkt. No. 968). Prior to the hearing, on

13   August 26, 2011, the parties entered into a stipulation providing, among other things: 1) that the

14   Special Master’s recommended finding that Plaintiffs violated Rule 11 be vacated; 2) that certain

15   other aspects of the Special Master’s recommendations be adopted; and 3) that Plaintiffs’

16   “allegations of the Direct CAC purporting to allege a conspiracy encompassing Finished Products

17   are Stricken from the Direct CAC, provided, however, that the issue of the possible impact or

18   effect of the alleged fixing of prices of CRTs on the prices of Finished Products shall remain in the

19   case.” Plaintiffs agreed to withdraw discovery requests regarding the CRT Finished Product

20   Conspiracy claims. Defendants agreed that the issue of the impact of the CRT conspiracy on the

21   prices of the Finished Products would remain in the case. (Dkt. No. 996).

22            8.    On December 12, 2011 Defendants moved for Summary Judgment against Plaintiffs

23   who purchased CRT Finished Products only. (Dkt. No. 1013). Plaintiffs and the Direct Action

24   Plaintiffs (“DAPs”) opposed the motion. On March 20, 2012, Judge Legge heard argument from all

25   parties. On May 31, 2012, the Special Master issued his Report and Recommendation that the

26   Court grant Defendants’ motion for summary judgment and that judgment be entered against

27   certain plaintiffs that purchased CRT Finished Products from defendants (“R&R”). (Dkt. No.

28   1221).
                                                       2
      DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF MOTION FOR PRELIMINARY APPROVAL
       OF CLASS ACTION SETTLEMENT WITH THE HITACHI DEFENDANTS; Master File No. CV-07-5944-SC
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 1          9.      The parties filed briefs in support and in opposition to adoption of the R&R. On

 2   November 29, 2012, the Court entered the Order Granting in Part and Denying in Part Defendants’

 3   Joint Motion for Summary Judgment (Dkt. No. 1470) (“Order”). The Court found that Plaintiffs

 4   that purchased a Finished Product, were “in fact indirect purchasers for purposes of antitrust

 5   standing.” Order at 6. The Court further found that one of the three exceptions that permit indirect

 6   purchasers to pursue private treble-damages claims, outlined by the Ninth Circuit Court of Appeals

 7   in In re ATM Fee Antitrust Litig., 686 F.3d 741 (9th Cir. 2012), could apply to Plaintiffs. The Court

 8   ruled that the “Ownership and Control Exception” created in Royal Printing Co. v. Kimberly-Clark

 9   Corp., 621 F.2d 323 (9th Cir. 1980), conferred standing on Plaintiffs to sue “insofar as they

10   purchased [Finished Products] incorporating the allegedly price-fixed CRTs from an entity owned

11   or controlled by any allegedly conspiring defendant.” Order at 16. Certain defendants filed a

12   motion under 28 U.S.C. section 1292(b) requesting that the Court certify the Order for

13   interlocutory appeal. (Dkt. No. 1499). The Court denied defendants’ request. (Dkt. No. 1569).

14          10.     On May 14, 2013, Plaintiffs moved for class certification. Defendants filed their

15   opposition on September 11, 2013. On November 11, 2013, Plaintiffs filed their reply. The matter

16   is now fully briefed. A hearing on Plaintiffs’ Motion for Class Certification has not yet been

17   scheduled.

18          11.     In September of 2008, the first of several stays prohibiting Plaintiffs from obtaining

19   merits discovery was entered by this Court. (Dkt. Nos. 379, 425, and 590). On June 4, 2008,

20   Plaintiffs’ propounded their First Set of Limited Document Requests.

21          12.     On March 12, 2010, after the partial stay of discovery was lifted, Plaintiffs

22   propounded their Second Set of Document Requests and First Set of Interrogatories. On October

23   27, 2011, after extensive meet and confers and several motions to compel, the Court issued its

24   Report Regarding Case Management Conference No. 4 in which it set the middle of December,

25   2011 as the deadline for the completion of substantial discovery by all parties. (Dkt. Nos. 1007,

26   1008). Plaintiffs have now received over 5 million pages of documents produced by Defendants.

27          13.     On April 3, 2013, the Court entered the Special Master’s Scheduling Order and

28   Order Re Discovery and Case Management Protocol. (Dkt. Nos. 1127, 1128). The Scheduling
                                                 3
      DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF MOTION FOR PRELIMINARY APPROVAL
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 1   Order set August 30, 2013 as the date for completion of all fact and expert discovery. Beginning in

 2   June of 2012, after meeting and conferring with defendants regarding the scope and topics of

 3   30(b)(6) witnesses, Plaintiffs began taking 30(b)(6) depositions of the various defendants. To date,

 4   in coordination with the indirect purchasers, the Attorneys General, and the opt-out plaintiffs,

 5   Plaintiffs have deposed over 25 corporate representatives. Beginning in December of 2012,

 6   Plaintiffs began taking merits depositions. Over 20 merits depositions have been completed to date.

 7          14.     On October 19, 2012, the Court granted final approval of the first two settlements

 8   reached in this case with: (1) Chunghwa Picture Tubes, Ltd. and Chunghwa Picture Tubes

 9   (Malaysia) Sdn. Bhd. (“CPT”), and (2) Koninklijke Philips Electronics N.V., Philips Electronics

10   North America Corporation, Philips Electronics Industries (Taiwan), Ltd., and Philips Da

11   Amazonia Industria Electronica Ltda. (“Philips”).

12          15.     On December 27, 2012, the Court granted final approval of the third settlement

13   reached in this case with Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.),

14   Panasonic Corporation of North America, and MT Picture Display Co., Ltd., (“Panasonic”).

15          16.     On April 1, 2013, the Court granted final approval of the fourth settlement reached in

16   this case with defendants LG Electronics, Inc., LG Electronics USA, Inc., and LG Electronics

17   Taiwan Taipei Co., Ltd. (“LG”).

18          17.     On July 23, 2013, the Court granted final approval of the fifth settlement reached in

19   this case with defendants Toshiba Corporation, Toshiba America Information Systems, Inc., Toshiba

20   America Consumer Products, L.L.C., and Toshiba America Electronic Components, Inc.

21   (“Toshiba”).

22          18.     In each of the prior settlements—CPT, Philips, Panasonic, LG, and Toshiba, the

23   Court certified a Settlement Class for the settlements, appointed Saveri & Saveri, Inc. as Settlement

24   Class Counsel, and found that the manner and form of providing notice of the settlements to class

25   members was the best notice practicable under the circumstances (See Dkt. Nos. 1412, 1508, 1621,

26   1791), and the Court entered final judgments of dismissal with respect to the settling (and released)

27   defendants (See Dkt. Nos. 1413, 1414, 1509, 1510, 1622, 1792).

28          19.     The Hitachi Settlement is the sixth settlement reached in this action.
                                                       4
      DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF MOTION FOR PRELIMINARY APPROVAL
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 1          20.     CRTs are defined to mean Cathode Ray Tubes of any type (e.g., color display tubes

 2   and color picture tubes). CRT Finished Products are those products that when finished contain

 3   Cathode Ray Tubes – such as televisions and computer monitors. CRT Products means CRTs

 4   and/or CRT Finished Products.

 5          21.     The Settlement resolves all federal claims related to CRT Products (i.e., CRTs and

 6   CRT Finished Products) brought by Plaintiffs against Hitachi and related entities that are defined in

 7   the Settlement Agreement to be “Hitachi Releasees.”

 8          22.     I participated in settlement negotiations with Hitachi. The settlement was a reached

 9   as a result of several mediation sessions conducted by Judge Vaughn Walker (Ret.). The parties

10   exchanged mediation briefs and attended a one-day mediation session on March 26, 2013. On May

11   14, 2012, the parties again exchanged briefs and attended another one-day mediation session.

12   While no settlement was reached at the mediation sessions, the parties continued their discussions

13   with the assistance of Judge Walker and reached an agreement in principle on several material

14   terms on or about September 12, 2013. The negotiations were thorough and hard fought. They

15   were contested and conducted at arms-length in the utmost good faith.

16          23.     In exchange for dismissal with prejudice and a release of all claims asserted in the

17   CAC, Hitachi has agreed to pay $13,450,000 in cash to settle all direct purchaser claims against it.

18   The funds are to be deposited into a guaranteed escrow account within 30 days of execution of the

19   Settlement Agreement.

20          24.     Hitachi’s sales remain in the case for the purpose of computing Plaintiffs’ claims

21   against the remaining non-settling Defendants.

22          25.     Hitachi Displays has agreed to cooperate with Plaintiffs in the prosecution of this

23   action by: 1) providing copies of all discovery (including among other things, all documents,

24   interrogatories, requests for admission, etc.) Hitachi produces to any other party in the Action; 2)

25   providing a declaration and/or custodian establishing the authenticity of Hitachi’s transactional

26   data, and foundation of any Hitachi document or data needed at summary judgment or trial; 3)

27   allowing Counsel to question percipient witnesses noticed for deposition by any other party in the

28   Action with whom Hitachi has not settled; and 4) using its best efforts to make available three
                                                     5
      DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF MOTION FOR PRELIMINARY APPROVAL
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 1   persons for trial testimony, each of whom is, at the time of trial, a director, officer, and/or

 2   employee of Hitachi Displays whom Lead Counsel reasonably believes to have knowledge

 3   regarding Plaintiffs’ claims.

 4           26.     It is my opinion that the Settlement is, in every aspect, fair, adequate and reasonable

 5   and in the best interest of the class members. My opinion is based, among other things, on my

 6   participation in virtually every aspect of this case, my review of all of the important evidence

 7   obtained to date and my experience in many other class action antitrust cases.

 8           27.     The transactional data produced so far indicates that the Settlement Class contains

 9   thousands of members dispersed across the country who directly purchased CRT Products from the

10   Settling Defendants and their co-conspirators from March 1, 1995 through November 25, 2007.

11           28.     As with the previous settlements, Plaintiffs’ counsel will not seek an award of

12   attorneys’ fees at this time. Plaintiffs’ counsel will seek an award of fees in the future after the

13   completion of other settlement(s) or at some other later date.

14           29.     The notice program is the same as the one approved by the Court on May 3, 2012 in

15   connection with the Chunghwa and Philips settlements, on August 27, 2012 in connection with the

16   Panasonic settlement, on November 13, 2012 in connection with the LG Settlement, and on March

17   18, 2013 in connection with the Toshiba settlement — namely direct notice to class members

18   whose addresses can be reasonably obtained along with publication once in the national edition of

19   the Wall Street Journal, together with appropriate listings on the Internet. This notice program is

20   similar to that employed in the direct purchaser DRAM, SRAM and LCD class actions.

21           30.     The plan of allocation is the same procedure as approved by the Court on May 3,

22   2012 in connection with the CPT and Philips settlements, on August 27, 2012 in connection with

23   the Panasonic settlement, on November 13, 2012 in connection with LG Settlement, and on March

24   18, 2013 in connection with the Toshiba settlement – namely 1) deferring the distribution of

25   settlement proceeds until a later date and 2) informing the class of the methodology of the pro rata

26   distribution.

27           31.     Attached hereto as Exhibit 2 is a copy of the proposed Long Form of Notice.

28           32.     Attached hereto as Exhibit 3 is a copy of the proposed Summary Notice.
                                                        6
      DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF MOTION FOR PRELIMINARY APPROVAL
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 1        I declare under the penalty of perjury under the laws of the United States of America that the

 2   foregoing is true and correct.

 3        Executed the 6th day of December, 2013, in San Francisco, California.

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                                                                 /s/ R. Alexander Saveri
 5                                                                 R. Alexander Saveri
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      DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF MOTION FOR PRELIMINARY APPROVAL
       OF CLASS ACTION SETTLEMENT WITH THE HITACHI DEFENDANTS; Master File No. CV-07-5944-SC
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             EXHIBIT 2
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         UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA

        If You Bought A Cathode Ray Tube Product,
                     A Class Action Settlement May Affect You.
Cathode Ray Tube (CRT) Products include Cathode Ray Tubes and finished products that
       contain a Cathode Ray Tube such as Televisions and Computer Monitors.

      A Federal Court authorized this Notice. This is not a solicitation from a lawyer.

•    A class action lawsuit that includes direct purchasers of CRT Products is currently
     pending.
•    Plaintiffs claim that Defendants (listed below) and co-conspirators engaged in an
     unlawful conspiracy to fix, raise, maintain or stabilize the prices of Cathode Ray Tubes.
     Plaintiffs further claim that direct purchasers of televisions and monitors that contain a
     cathode ray tube from the Defendants may recover for the effect that the cathode ray tube
     conspiracy had on the prices of televisions and monitors. Plaintiffs allege that, as a result
     of the unlawful conspiracy involving cathode ray tubes, they and other direct purchasers
     paid more for CRT Products than they would have paid absent the conspiracy.
     Defendants deny Plaintiffs’ claims.
•    A Settlement has been reached with Hitachi, Ltd., Hitachi Displays, Ltd. (n/k/a Japan
     Display Inc.), Hitachi America, Ltd., Hitachi Asia, Ltd., and Hitachi Electronic Devices
     (USA) Inc. The companies are together referred to as the “Settling Defendants.”
•    Your legal rights will be affected whether you act or don’t act. This Notice includes
     information on the Settlement and the continuing lawsuit. Please read the entire Notice
     carefully.
            These Rights and Options – and deadlines to exercise them –
                                 are explained in this notice.
     You can object or comment on the Settlement                          see Question 10
     You may exclude yourself from the Settlement                         see Question 10
     You may go to a hearing and comment on the Settlement                see Question 14


•    The Court in charge of this case still has to decide whether to approve the Settlement.
     The case against the Non-Settling Defendants (identified below) continues.




                     For More Information: Call 1-877-224-3063 or Visit
                     www.CRTDirectPurchaserAntitrustSettlement.com
                                               1
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                                    WHAT THIS NOTICE CONTAINS
Basic Information........................................................................................................... Page 3

          1. Why did I get this notice?

          2. Who are the Defendant companies?

          3. What is this lawsuit about?

          4. Why is there a Settlement but the litigation is continuing?

          5. What is a Cathode Ray Tube Product?

          6.    What is a class action?
The Settlement Class ..................................................................................................... Page 6

          7. How do I know if I’m part of the Settlement Class?

          8. What does the Settlement provide?

          9. When can I get a payment?

          10. What are my rights in the Settlement Class?

          11. What am I giving up to stay in the Settlement Class?

The Settlement Approval Hearing .............................................................................. Page 8

          12. When and where will the Court decide whether to approve the Settlement?

          13. Do I have to come to the hearing?

          14. May I speak at the hearing?

The Lawyers Representing You .................................................................................. Page 9

          15. Do I have a lawyer in the case?

          16. How will the lawyers be paid?

Getting More Information ........................................................................................... Page 9

          17. How do I get more information?



                                 For More Information: Call 1-877-224-3063 or Visit
                                 www.CRTDirectPurchaserAntitrustSettlement.com
                                                                   2
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                                     BASIC INFORMATION

1.     Why did I get this notice?

You or your company may have directly purchased Cathode Ray Tubes (CRTs) or certain
products containing those tubes between March 1, 1995 and November 25, 2007. A direct
purchaser is a person or business who bought a CRT, or a television or computer monitor
containing a CRT directly from one or more of the Defendants, co-conspirators, affiliates, or
subsidiaries themselves, as opposed to an intermediary (such as a retail store).

You have the right to know about the litigation and about your legal rights and options before the
Court decides whether to approve the Settlement.

The notice explains the litigation, the settlement, and your legal rights.

The Court in charge of the case is the United States District Court for the Northern District of
California, and the case is called In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No.
1917. The people who sued are called Plaintiffs and the companies they sued are called
Defendants.

2.     Who are the Defendant companies?

The Defendant companies include: LG Electronics, Inc., LG Electronics U.S.A., Inc., LG
Electronics Taiwan Taipei Co., Ltd., Koninklijke Philips Electronics N.V., Philips Electronics
North America Corporation, Philips Electronics Industries (Taiwan), Ltd., Philips da Amazonia
Industria Electronica Ltda., LP Displays International, Ltd. f/k/a LG.Philips Displays, Samsung
Electronics Co., Ltd., Samsung Electronics America, Inc., Samsung SDI Co. Ltd., Samsung SDI
America, Inc., Samsung SDI Mexico S.A. de C.V., Samsung SDI Brasil Ltda., Shenzhen
Samsung SDI Co. Ltd., Tianjin Samsung SDI Co. Ltd., Samsung SDI Malaysia Sdn. Bhd.,
Toshiba Corporation, Toshiba America Consumer Products, L.L.C., Toshiba America
Information Systems, Inc., Toshiba America Electronic Components, Inc., Panasonic
Corporation f/k/a Matsushita Electric Industrial, Ltd., Panasonic Corporation of North America,
MT Picture Display Co., Ltd., Beijing-Matsushita Color CRT Company, Ltd. (BMCC), Hitachi,
Ltd., Hitachi Displays, Ltd. (n/k/a Japan Display Inc.), Hitachi Electronic Devices (USA), Inc.,
Hitachi America, Ltd., Hitachi Asia, Ltd., Tatung Company of America, Inc., Chunghwa Picture
Tubes Ltd., Chunghwa Picture Tubes (Malaysia) Sdn. Bhd., IRICO Group Corporation, IRICO
Display Devices Co., Ltd., IRICO Group Electronics Co., Ltd., Thai CRT Company, Ltd.,
Daewoo Electronics Corporation f/k/a Daewoo Electronics Company, Ltd., Daewoo
International Corporation, Irico Group Corporation, Irico Group Electronics Co., Ltd., and Irico
Display Devices Co., Ltd.




                        For More Information: Call 1-877-224-3063 or Visit
                        www.CRTDirectPurchaserAntitrustSettlement.com
                                                  3
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3.     What is this lawsuit about?
The lawsuit alleges that Defendants and co-conspirators conspired to raise and fix the prices of
CRTs and the CRTs contained in certain finished products for over ten years, resulting in
overcharges to direct purchasers of those CRTs and certain finished products containing CRTs.
The complaint describes how the Defendants and co-conspirators allegedly violated the U.S.
antitrust laws by establishing a global cartel that set artificially high prices for, and restricted the
supply of CRTs and the televisions and monitors that contained them. Defendants deny
Plaintiffs’ allegations. The Court has not decided who is right.
4.     Why is there a Settlement but the litigation is continuing?
Only some of the Defendants have agreed to settle the lawsuit. This notice concerns a settlement
with Hitachi, Ltd., Hitachi Displays, Ltd. (n/k/a Japan Display Inc.), Hitachi America, Ltd.,
Hitachi Asia, Ltd., and Hitachi Electronic Devices (USA) Inc. Plaintiffs have also reached five
previous settlements with Chunghwa Picture Tubes Ltd., and Chunghwa Picture Tubes
(Malaysia) Sdn. Bhd.; Koninklijke Philips Electronics N.V., Philips Electronics North America
Corporation, Philips Electronics Industries (Taiwan), Ltd., and Philips da Amazonia Industria
Electronica Ltda.; Panasonic Corporation (f/k/a Matsushita Electric Industrial, Ltd.), Panasonic
Corporation of North America, and MT Picture Display Co., Ltd. (this settlement also releases
Beijing-Matsushita Color CRT Company, Ltd.); LG Electronics, Inc., LG Electronics U.S.A.,
Inc., and LG Electronics Taiwan Taipei Co., Ltd. (this settlement also releases LP Displays
International, Ltd. f/k/a LG.Philips Displays.); and Toshiba Corporation, Toshiba America
Information Systems, Inc., Toshiba America Consumer Products, L.L.C., and Toshiba America
Electronic Components, Inc. The five previous settlements have been finally approved by the
Court. The case is continuing against the remaining Non-Settling Defendants. Additional money
may become available in the future as a result of a trial or future settlements, but there is no
guarantee that this will happen.

5.     What is a Cathode Ray Tube Product?
For the purposes of the Settlement, Cathode Ray Tube Products means Cathode Ray Tubes of
any type (e.g. color display tubes and color picture tubes) and finished products which contain
Cathode Ray Tubes, such as Televisions and Computer Monitors.
6.     What is a class action?
In a class action, one or more people, called class representatives, sue on behalf of people who
have similar claims. All these people are members of the class, except for those who exclude
themselves from the class.

If the Plaintiffs obtain money or benefits as a result of a trial or future settlement, you will be
notified about those settlements, if any, at that time. Important information about the case will be
posted on the website, www.CRTDirectPurchaserAntitrustSettlement.com as it becomes
available. Please check the website to be kept informed about any future developments.
                         For More Information: Call 1-877-224-3063 or Visit
                         www.CRTDirectPurchaserAntitrustSettlement.com
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                                    THE SETTLEMENT CLASS

7.     How do I know if I’m part of the Settlement Class?

The Settlement Class includes:

All persons and entities who, between March 1, 1995 and November 25, 2007, directly
purchased a CRT Product in the United States from any defendant or subsidiary or affiliate
thereof, or any co-conspirator. (“Settlement Class”).

8.     What does the Settlement provide?

This Settlement provides for a payment in the amount of $13,450,000 in cash to the Settlement
Class. The Settling Defendants also agreed to cooperate with the Plaintiffs in providing certain
information about the allegations in the complaint. In addition, the Settling Defendants’ sales
remain in the case for the purpose of computing damages against the remaining non-settling
Defendants.

                   More details are in the Settlement Agreement, available at
                  www.CRTDirectPurchaserAntitrustSettlement.com.

9.     When can I get a payment?

No money will be distributed to any Class Member yet. The lawyers will pursue the lawsuit
against the Non-Settling Defendants to see if any future settlements or judgments can be
obtained in the case and then be distributed together, to reduce expenses.

Any future distribution of the Settlement Funds will be done on a pro rata basis. You will be
notified in the future when and where to send a claim form. DO NOT SEND ANY CLAIMS
NOW.

In the future, each class member’s pro rata share of the Settlement Fund will be determined by
computing each valid claimant’s total CRT Product purchases divided by the total valid CRT
Product purchases claimed. This percentage is multiplied to the Net Settlement Fund (total
settlements minus all costs, attorneys’ fees, and expenses) to determine each claimant’s pro rata
share of the Settlement Fund. To determine your CRT Product purchases, CRT tubes (CPTs and
CDTs) are calculated at full value while CRT televisions are valued at 50% and CRT computer
monitors are valued at 75%.

In summary, all valid claimants will share in the settlement funds on a pro rata basis determined
by the CRT value of the product you purchased - tubes 100%, monitors 75% and televisions
50%.


                       For More Information: Call 1-877-224-3063 or Visit
                       www.CRTDirectPurchaserAntitrustSettlement.com
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10.     What are my rights with regard to the Settlement Class?

Remain in the Settlement Class: If you wish to remain a member of the Settlement Class you
do not need to take any action at this time.

Get out of the Settlement Class: If you wish to keep any of your rights to sue the Settling
Defendants about the claims in this case, you must exclude yourself from the Settlement Class.
You will not get any money from the settlement if you exclude yourself from the Settlement
Class.

To exclude yourself from the Settlement Class, you must send a letter that includes the
following:
    • Your name, address and telephone number,
    • A statement saying that you want to be excluded from In re Cathode Ray Tube (CRT)
       Antitrust Litigation, MDL No. 1917, Hitachi Settlement; and
    • Your signature.

You must mail your exclusion request, postmarked no later than _________________, to:

                                        CRT Direct Settlement
                                          P.O. Box 808003
                                         Petaluma, CA 94975

Remain in the Settlement Class and Object: If you have comments about, or disagree with,
any aspect of the Settlement, you may express your views to the Court by writing to the address
below. The written response needs to include your name, address, telephone number, the case
name and number (In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917), a brief
explanation of your reasons for objection, and your signature. The response must be postmarked
no later than _________________ and mailed to:

           COURT                        INTERIM LEAD                COUNSEL FOR
                                          COUNSEL                      SETTLING
                                                                     DEFENDANTS
 Honorable Samuel Conti            Guido Saveri                    James H. Mutchnik
 United States District Court      R. Alexander Saveri             Kirkland & Ellis LLP
 Northern District of California
 San Francisco Division            SAVERI & SAVERI, INC.           300 North LaSalle
 450 Golden Gate Avenue            706 Sansome Street              Chicago, IL 60654
 Courtroom 3, 17th floor           San Francisco, CA 94111
 San Francisco, CA 94102



                          For More Information: Call 1-877-224-3063 or Visit
                          www.CRTDirectPurchaserAntitrustSettlement.com
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11.    What am I giving up to stay in the Settlement Class?

Unless you exclude yourself from the Settlement Class, you can’t sue the Settling Defendants (or
any of the related entities that are released in the Settlement Agreement), or be part of any other
lawsuit against these Settling Defendants about the legal issues in this case. It also means that all
of the decisions by the Court will bind you. The “Release of Claims” includes any causes of
actions asserted or that could have been asserted in the lawsuit, as described more fully in the
Settlement       Agreement.        The      Settlement      Agreement       is       available     at
www.CRTDirectPurchaserAntitrustSettlement.com.

                        THE SETTLEMENT APPROVAL HEARING

12.    When and where will the Court decide whether to approve the Settlement?

The Court will hold a Fairness Hearing at ______on _________ 2014, at the United States
District Court for the Northern District of California, San Francisco Division, in Courtroom 1 on
the 17th Floor,on 450 Golden Gate Ave. The hearing may be moved to a different date or time
without additional notice, so it is a good idea to check the class website for information. At this
hearing, the Court will consider whether the Settlement is fair, reasonable and adequate. If there
are objections or comments, the Court will consider them at that time. After the hearing, the
Court will decide whether to approve the Settlement. We do not know how long these decisions
will take.


13.    Do I have to come to the hearing?

No. Interim Lead Counsel will answer any questions the Court may have, but you are welcome
to come at your own expense. If you send an objection or comment, you don’t have to come to
Court to talk about it. As long as you mailed your written objection on time, the Court will
consider it. You may also pay another lawyer to attend, but it’s not required.


14.     May I speak at the hearing?

If you want your own lawyer instead of Interim Lead Counsel to speak at the Final Approval
Hearing, you must give the Court a paper that is called a “Notice of Appearance.” The Notice of
Appearance should include the name and number of the lawsuit (In re Cathode Ray Tube (CRT)
Antitrust Litigation, MDL No. 1917), and state that you wish to enter an appearance at the
Fairness Hearing. It also must include your name, address, telephone number, and signature.
Your “Notice of Appearance” must be postmarked no later than __________________. You
cannot speak at Hearing if you previously asked to be excluded from the Settlement.

The Notice of Appearance must be sent to the addresses listed in Question 10.
                        For More Information: Call 1-877-224-3063 or Visit
                        www.CRTDirectPurchaserAntitrustSettlement.com
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                         THE LAWYERS REPRESENTING YOU

15.    Do I have a lawyer in the case?

Yes. The Court has appointed the law firm of Saveri & Saveri, Inc. to represent you as “Interim
Lead Counsel.” You do not have to pay Interim Lead Counsel. If you want to be represented by
your own lawyers, and have that lawyer appear in court for you in this case, you may hire one at
your own expense.

16.    How will the lawyers be paid?

Class Counsel are not asking for attorneys’ fees at this time. At a future time, Interim Lead
Counsel will ask the Court for attorneys’ fees not to exceed one-third (33.3%) of this or any
future Settlement Fund plus reimbursement of their costs and expenses, in accordance with the
provisions of the Settlement Agreement. Interim Lead Counsel may also request that an amount
be paid to each of the Class Representatives who helped the lawyers on behalf of the whole
Class.


                            GETTING MORE INFORMATION

17.    How do I get more information?

This Notice summarizes the lawsuit and the Settlement. You can get more information about the
lawsuit and Settlement at www.CRTDirectPurchaserAntitrustSettlement.com., by
calling 1-877-224-3063, or writing to CRT Direct Settlement, P.O. Box 808003, Petaluma, CA
94975. Please do not contact the Court about this case.

Dated: _________________                                   BY ORDER OF THE COURT




                       For More Information: Call 1-877-224-3063 or Visit
                       www.CRTDirectPurchaserAntitrustSettlement.com
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             EXHIBIT 3
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                                     LEGAL NOTICE
        If You Bought A Cathode Ray Tube (“CRT”) or CRT Product, A Class Action
                               Settlement May Affect You.
                         ______________________________________________________

     CRT Products include Televisions or Computer Monitors that contain Cathode Ray Tubes
A settlement has been reached with a group of             distributed to Class members at this time. The
defendants in a class action lawsuit involving CRTs       lawyers will pursue the lawsuit against the other
and CRT Products. This is the sixth settlement to         Defendants to see if any future settlements or
date. CRT stands for “Cathode Ray Tube.” “Cathode         judgments can be obtained in the case and then be
Ray Tube (CRT) Products” include Cathode Ray              distributed together, to reduce expenses.
Tubes and finished products that contain a Cathode
                                                                           What are my rights?
Ray Tube such as Televisions and Computer
Monitors.                                                 If you wish to remain a member of the Settlement
                                                          Class you do not need to take any action at this time.
             What is this lawsuit about?
                                                          If you do not want to be legally bound by the
The lawsuit alleges that Defendants and Co-               Settlement, you must exclude yourself in writing by
Conspirators engaged in an unlawful conspiracy to         _______________, or you will not be able to sue, or
fix, raise, maintain or stabilize the prices of CRTs.     continue to sue, the Settling Defendants about the
Plaintiffs further claim that direct purchasers of        legal claims in this case.
televisions and monitors that contain a cathode ray
tube from the Defendants may recover for the effect       If you wish to comment on or disagree with any
that the cathode ray tube conspiracy had on the prices    aspect of the proposed settlement, you must do so in
                                                          writing no later than ___________. The Settlement
of televisions and monitors. Plaintiffs allege that, as
result of the unlawful conspiracy, they and other         Agreement, along with details on how to object to
direct purchasers paid more for CRT Products than         them, is available at
                                                          www.CRTDirectPurchaserAntitrustSettlement.com.
they would have absent the conspiracy. Defendants
deny Plaintiffs’ claims.                                  The U.S. District Court for the Northern District of
                                                          California will hold a Fairness Hearing at ____ on
          Who’s included in the settlement?               ______________, at the U.S. District Court for the
                                                          Northern District of California, 450 Golden Gate
The Settlement includes all persons and entities who,
                                                          Ave., San Francisco, CA 94102, Courtroom 1, 17th
between March 1, 1995 and November 25, 2007,
                                                          Floor.The hearing may be moved to a different date
directly purchased a CRT Product in the United
                                                          or time without additional notice, so it is a good idea
States from any defendant or subsidiary or affiliate
                                                          to check the class website for information.
thereof (“Settlement Class”).
                                                          The Court has appointed the law firm of Saveri &
          Who are the Settling Defendants?
                                                          Saveri, Inc. to represent Direct Purchaser Class
A Settlement has been reached with Defendants             members as Interim Lead Class Counsel. At the
Hitachi, Ltd., Hitachi Displays, Ltd. (n/k/a Japan        Fairness Hearing, the Court will consider whether the
Display Inc.), Hitachi America, Ltd., Hitachi Asia,       Settlement is fair, reasonable and adequate. If there
Ltd., and Hitachi Electronic Devices (USA) Inc.           are objections or comments, the Court will consider
(collectively “Hitachi” or “Settling Defendants”). A      them at that time. You may appear at the hearing, but
complete list of Defendants is set out in the Long        don’t have to. We do not know how long these
Form of Notice available at                               decisions will take. Please do not contact the Court
www.CRTDirectPurchaserAntitrustSettlement.com.            about this case.
         What does the Settlement provide?
                                                          This is a Summary Notice. For more details, call toll
The Settlement provides for the payment of                free 1-877-224-3063, visit
$13,450,000 in cash to the Settlement Class. The          www.CRTDirectPurchaserAntitrustSettlement.com.,
Settling Defendants agreed to cooperate with the          or write to CRT Direct Settlement, P.O. Box 808003,
Plaintiffs in providing certain information about the     Petaluma, CA94975.
allegations in the Complaint. Money will not be
